JS 44 (Rev. 06/17)

Case 1:20-cv-11691-Fb¥IipeQneRaSHlidg 09/15/20 Page 1 of 3

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
provided by local rules of court. This form, approved by the Judicial Conference of the United States in Septemb
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

other papers as required by law, except as
er 1974, is required for the use of the Clerk of Court for the

I. (a) PLAINTIFFS
Leica

Nicholas
Midate Sex

(b) County of Residence of First Listed Plaintiff ,
(EXCEPT IN U.S. PLAINTIFF CASES)
G11-T20- WA
(c) Attorncys (Firm Name, Address, and Telephone Number) Howaro Cok éZ
Toop Weld LL?
\Federay SE Bost Mp 02110

DEFENDANTS

NET Fx FANC

County of Residence of First Listed Defendant
(IN U.S, PLAINTIFF CASES ONLY)
IN LAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED.
»
Attorneys ([f Known) Ben) on. \ N . s ren i)

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NOTE;

 

 

II. BASIS OF JURISDICTIO

ace an "Xin One Box Only)

O 1. U.S. Government Federal Question
Plaintiff (U.S. Government Not a Party) Citi
4 2 US, Government 4° Diversity Citi

Defendant

(Indicate Citizenship of Parties in Tem TI)

Citi

 

   

Onb}

     

“Xin One Box

   

PERSONAL INJURY

110 Insurance PERSONAL INJURY
© 120 Marine 7 310 Airplane 71 365 Personal Injury -
J 130 Miller Act J 315 Airplane Produet Product Liability
0 140 Negotiable Instrument Liability 3 367 Health Care/
150 Recovery of Overpayment 320 Assault, Libel & Pharmaccutical

& Enforcement of Judgment] Slander Personal Injury
O 151 Medicare Act J 330 Federal Employers’ Product Liability
O 152 Recovery of Defaulted Liability 71 368 Asbestos Personal

J 340 Marine
J 345 Marine Product
Liability

Student Loans
(Excludes Veterans)
153 Recovery of Overpayment

Injury Product
Liability
PERSONAL PROPERTY [|

   
   
 
  

PORFEMDPURE:
3 625 Drug Related Seizure

J 690 Other

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X"' in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

PTF DEF PTF DEF
zen of This State 3 | 3 1 Incorporated er Principal Place 54 14
of Business In This State
zen of Another State 32 1 2 Incorporated and Principal Place O5 35
of Business In Another State
zen or Subject of a 33 3 3 Foreign Nation H6 76

Foreign Country

  
  

f Suit Code Descriptions.

0 375 False Claims Act

O 376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

(J 410 Antitrust

© 430 Banks and Banking

O 450 Commerce

0 460 Deportation

© 470 Racketeer Influenced and
Corrupt Organizations

© 480 Consumer Credit

     

 

 

     
 
   

of Property 21 USC 881

0 423 Withdrawal
28 USC 157

 
   
    

©) 820 Copyrigh:

O 830 Patent

9 835 Patent - Abbreviated
New Drug Application

© 840 Trademark

ts

    

 

J 350 Motor Vehicle

33355 Motor Vehicle
Product Liability

71 360 Other Personal
Injury

71 362 Personal Injury -

Medical Malpractice

of Veteran's Benefits
160 Stockholders’ Suits
190 Other Contract
195 Contract Product Liability
196 Franchise

3 370 Other Fraud
73-371 Truth in Lending
‘J 380 Other Personal
Property Damage
J 385 Property Damage
Product Liability

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Ri RC CIVIL. ISONER PETIT
210 Land Condemnation 3 440 Other Civil Rights Habeas Corpus:
1 220 Foreclosure 7 441 Voting 71 463 Alien Detainee

(9 230 Rent Lease & Ejectment
© 240 Torts to Land

1 245 Tort Product Liability
© 290 All Other Real Property

7 442 Employment

J 443 Housing/
Accommodations

J 445 Amer. w/Disabilities -
Employment

7 446 Amer, w/Disabilitics -
Other

7 448 Education

J 510 Motions to Vacate
Sentence

J 530 General

J 535 Death Penalty

Other:

J 540 Mandamus & Other

3 550 Civil Rights

J 555 Prison Condition

J 560 Civil Detainee -
Conditions of
Confinement

   

 

 

3 710 Fair Labor Standards
41 720 Labor/Management

11 740 Railway Labor Act
© 751 Family and Medical

11 790 Other Labor Litigation
3 791 Employee Retirement

J 462 Naturalization Application
J 465 Other Immigration

© 861 HIA (1395ff)

862 Black Lung (923)
O 863 DIWC/DIWW (405(g))
O 864 SSLD Title XVL

C1 865 RSI (405(u))

(490 Cable/Sat TV

OF 850 Securities/Commodities/
Exchange

© 890 Other Statutory Actions

© 891 Agricultural Acts

J £93 Environmental Matters

1 895 Frocdom of Information
Act

O 896 Arbitration

© 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

1 950 Constitutionality of
State Statutes

Act

Relations

Leave Act

 

 

G 870 Taxes (U.S. Plaintifi
or Defendant)

871 IRS—Third Party

26 USC 7609

   

Income Security Act

Actions

 

 

 

1 Original Removed from
Proceeding State Court

O 3. Remanded from

V. ORIGIN (Place an “X" in One Box Only)
; : Appellate Court

Cite the U.S. Civil Statutg_under which you are filing

WAC Sec” (446

VI. CAUSE OF ACTION

 

O 4 Reinstated or
Reopened

O 6 Multidistrict
Litigation -
Transfer

\32\

O 8 Multidistrict
Litigation -
Direct File

05 Transferred from
Another District
(Gpecify)

ag cite jurisdictional statutes untess diversity):

a

usc Sec

Brief description of cause: , ‘ 7
Demakon ACTON

 

 

 

 

VIL. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND 5 CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: es ONo
VII. RELATED CASE(S) "
IF ANY (See instructions): UBGE ———
DATE SIGNATURE OF ATTORNEY OF R
A14 [2220 oP ae) C ahbas
FOR OFFICE USE ONLY ’ coats 2 * — =.

 

AMOUNT

RECEIPT # APPLYING IFP

JUDGE MAG. JUDGE
Case 1:20-cv-11691-FDS Document 1-7 Filed 09/15/20 Page 2 of 3
UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Title of case (name of first party on each side only). Lo \o i 8 is Vv. Ne \ F L ( x To Ce } AL

 

Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
rule 40.1(a)(1)).

 

I. 460, 400, 410, 441, 535, 830*, 835*, 850, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

 

 

 

I. 410, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820", 840*, 895, 896, 899.

 

 

420, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 345, 320, 330, 340, 345, 350, 355, 360, 362,
tl. 365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 490, 510, 530, 540, 550, 555, 560, 625,
690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.

*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

/

 

vo

Does the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

2403) ‘
ee ae
YES [| NO [|

Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC 84?

YES

Has a prior action between the same parties and based on the same claim ever “hy in this court? fo
NO

 

 

-

 

 

If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

 

 

 

 

 

 

 

 

 

 

 

 

 

YES NO
Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside in the e division? - Li Rule 40.1(d)).
YES P| NO
A. If yes, in which division. do all of the non-governmental ies reside?
Eastern Division Central Division P| Western Division
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

 

 

 

 

 

 

 

 

 

Eastern Division Central Division Western Division

 

 

 

If filing a Notice of Removal - are there any motions pending in the state court requiring the atfention of this Court? (If yes,
submit a separate sheet identifying the motions)
YES | Vv NO

 

 

 

 

 

(PLEASE TYPE OR PRINT)

ATTORNEY'S NAME Dieheond C. Chambees QR.

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(CategoryForm1-2019.wpd )
Case 1:20-cv-11691-FDS Document 1-7 Filed 09/15/20 Page 3 of 3

COMMONWEALTH OF MASSACHUSETTS

 

MIDDLESEX, ss SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
)
NICHOLAS J. LOUISA, ESQ.,
Plaintiff, )
)
Vv )
) Civil Action No. 2081CV01945
NETFLIX, INC., NETFLIX WORLDWIDE )
ENTERTAINMENT. LLC, JIGSAW )
PRODUCTIONS LLC, MUDDY WATERS )
PRODUCTIONS LLC, ALEX GIBNEY, )
RICHARD PERELLO, STACEY KNOWLES, )
LISA SIEGEL BELANGER, LONNIE )
BRENNAN and the BOSTON BROADSIDE, )
)
Defendants. )
)

 

INTERESTED NONPARTY JOHN SAVANOVICH’S EMERGENCY MOTION
TO INTERVENE FOR THE LIMITED PURPOSE OF MAKING AN
APPERANCE TO REQUEST IMPOUNDMEND AND A PROTECTIVE ORDER

Pursuant to Uniform Rule of Impoundment Procedure 6(a), the Court’s inherent powers,
and, to the extent applicable, Massachusetts Rule of Civil Procedure 24, Nonparty John
Savanovich (“Mr. Savanovich”), through his undersigned counsel, hereby moves the Court to
intervene in the instant case for a single purpose. Mr. Savanovich seeks to make a limited
appearance to participate in an impoundment proceeding pertaining to his Emergency Motion for
Impoundment and for a Protective Order, filed herewith.

His appearance is required to comply with Uniform Rule of Impoundment Procedure
6(a). All of the reasons why Mr. Savanovich seeks impoundment and a protective order are set

forth in his Memorandum of Law Supporting His Emergency Motion for Impoundment and for a

Protective Order, filed herewith and incorporated by reference as if fully stated herein.
